                  IN THE UNITED STATES DISTRICT COURT


                 FOR THE EASTERN DISTRICT OF VIRGINIA


                             NORFOLK DIVISION


UNITED STATES OF AMERICA


      V.                               Case No.
                                       Court Date:   October 22, 2019
ZACHARY W. PATTERSON




                           CRIMINAL INFORMATION


             (Misdemeanor)- Violation Notice No. 6454727

     THE UNITED STATES ATTORNEY CHARGES:


     That on or about August 12, 2019, at the Scott Center Annex Navy

Exchange at Norfolk Naval Shipyard, Portsmouth, Virginia, in the

Eastern District of Virginia, the defendant, ZACHARY W. PATTERSON, did

willfully and knowingly steal and purloin property of the United

States of a value less than $1,000.00.

     (In violation of Title 18, United States Code, Section 641.)

                                  Respectfully submitted,

                                  G. Zachary Terwilliger
                                  United States Attorney




                            By:        X Ci
                                   fames T. Cole
                                  ''Special Assistant U.S. Attorney
                                  Office of the U.S. Attorney
                                  101 West Main Street, Suite 8000
                                  Norfolk, VA 23510
                                  Ph: (757) 441-6712
                                  Fax:(757) 441-3205
                                  James.Cole0usdoj.gov
                        CERTIFICATE OF MAILING


     I hereby certify that on the date indicated below, I caused a
true and correct copy of the foregoing Criminal Information to be
mailed, postage prepaid, to the defendant in the above-styled case.



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                           James T. Cole
                          /Special Assistant U.S. Attorney
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                           Date
